(_Jase 40715/€(;/-017>3]]20 g&%me§b;lgz U`§QQ\'TXSD on 10/09/17 PagePcéf 8

cause No. `201755913

RECEIPT NO. 75.00 ` CTM
***'****** TR l 73410083

PLAINTIFF: HINTO_ JASON ' In The 157th y
vs. Judicial District Court
DBFENDANT: LIGHTHO E FROFERTY INSURANCE CORPORATION of Harris County, Texas
157TH DISTHICT CCURT.
Houston, TX

 

ciTATION ¢cERTIFIED)

  
          
  
   
   

THE sTATb uF TEXAS
County of Harris

'ro: MBRCER, Tmo'rriy

411 N SAM HOUSTON PARKWA¥ E S
Attached is a copy of

ITE 350 HOUSTON TX 77060

YOU HAVB BEEN SUBD, You may employ an =ttorney._If you or your attorney do not file a
written answer with the Diatrict Clerk who i=sued this citation by 10:00 a.m on the Monday
next following the expiration of 20 days afte you were served this citation and petition,
a default judgment may be taken against you. '

TO OFFICER SERVING:

This citation was issued on 6th day of Sept; ~er, 2017, under my hand and
seal of said Court.

lans§_a.t_:.ague§u;¢
wILsoN, cHAD T

455 EAST MEDICAL cENTER BLvD suITE H- ris C°vnty, Texas

555 W Caroline, Houston, Texas 77002
wEBsTER, Tx 77598 . Box 4651, Houston, Texas 77210)
Tel: (832) 415-1432

M= 24079587 cenerated By: ne oN, annum JANEL 355//10')59679

 

CLERK'S RETURN BY MAILING '

Came to hand the day of , and executed by
mailing to Defendant certified mail, return receipt requested, res ricted delivery, a true
cbpy~ of this citation together with an attached opy of

ORIGINAL PETITICN JURY DEMAND AND REQUEST FOR DISCLOSURE

to the following addressee at addreas:

 

 

ADDRESS

 
 

~ Secvice was executed in accor ance with Rule 106
ca:AonRI-:ssae (2) 'racp, upon the oetendan

 

 

 

as evidenced by the
_ return receipt incorporated herein and attached
hereto at '
on day of \ ` }

 

 

by U.S. Poatal delivery to §

This citation was not executed for th§\following
reason:
\

 

CHRIS DANIEL, District Clerk
Harris County, TEXAS

By

 

!N?.C!TH. P .7341 0083.

cenim-,d Dq¢~.umem Number; 76591894 - Page 1'of2

 

Ccnil`lcd Document Numbcr: 76591894 - Pagc 2 of 2

Case 4:17-cV-03012 Document 1-2 Filed in TXSD on 10/09/17 Page 2 of 8

70/£, 1670 000/ 903/ WM

CAUSE ND. 201755913

 

RECEIPT NO. 75.00 CTM
*ittd****¢ TR , 73410083
PLAINTIFF: MINTON, JASON In The 157th
vs. _ Judicial~District Court
DEFENDANT: LIGHTHOUSB ?ROPERT¥ INSURANCE CORPORATION of Harris County, Texas

157TH DISTRICT COURT
Houston, TX

CITATION (CERTIFIED)
THE STATE OF TEXAS
County of Harris

TO: MERCER, TIMOTH¥

411 N SAM HOUSTON PARKWAY E SUITB 350 HOUSTON TX 77060
Attached is a copy of RIGIN PE T ON JuRY DEMAND AND RE U ST R DISCLOS

This instrument was filed on the 21st gay of August, 2017, in the above cited cause number
and court. The instrument attached describes the claim against you. ‘

YOU HAVE BEEN SUED, ¥ou may employ an attorney. I£ you ot your attorney do not file a
written answer witt the District Clerk who issued this citation by 10:00 a.m on the Monday
next following the expiration of 20 days after you were served this citation and petition,
a default judgment may be taken against you.

TO OFFICER SERVING:

This citation was issued on Gth day of September, 2017, under my hand and
seal of said Court.

Ge'¢.:,@-,z

CHRIS DANIEL, District Clerk

Harris County, Texas

201 Caroline, Houston, Texas 77002
(?.0. Box 4651, Houston, Texas 77210)

f:
WILSON, CHAD T
455 EAST MEDICAL CENTER BLVD SUITE
555
wEBsTER, Tx 77598
Tel: (832) 415-1432
§§;_gg*; 24079587 Generated By: DENMCN, BRIANNA JANEL 3B5//10759679

 

 

CLERK‘S RETURN BY MAILING

Came to hand the day of , , and executed by
mailing to De£endant certified mail, return receipt requested, restricted delivery, a true
copy of this citation together with an attached copy of

ORIGINAL oEZTITION JURY DEHAND AND REQUEST FOR DISCLOSURE

to the following addressee at address:

 

 

ADDRESS

$ervice was executed in accordance with Rule 106
(a)ADDRESSEE (2) TRCP, upon the Defendant as evidenced by the
return receipt incorporated herein and attached
hereto at

 

 

 

on day of ,
by U.S. Postal delivery to

 

 

This citation was not executed for the following
reason:

 

 

CHRIS DANIEL, District Clerk
Harris County, TBXAS

gy , Deputy

N.zur.cmx.r "73410083'

Case 4:17-cV-03012 Document 1-2 Filed in TXSD on 10/09/17 Page 3 of 8

o
,o

O‘ .il.‘i”'?/,g»"'».
:. é ‘ ....... .' 0 ¢_.`
:. b ¢.. "¢. o '¢‘
.- o.-' z ¢= =
§ 0 g : § §
:. \- '._ :' ~<:'
"' z w -"'
’.., ( ~"°un ...... . .o"'

"'~`.s?° w §§

I, Chris Daniel, District Clerk of I-Iarris
County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date.

Witness my official hand and seal of office
this October 9 2017

 

Certifled Document Number: 76§21894 Total Pages: 2

%@M

Chris Daniel, DISTRICT CLERK
HARRIS COUNTY, TEXAS

In accordance with Texas Government Code 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail snpport@hcdistrictclerk.com

n|

 

 

 

 

 

 

 

 

 

 

 

 

    
    

. - - - . ceo c
8 ~Qmoomm EEmm ormoEoD mmom ccc mo ommh me m_¢ON >_:_.. _._.w® u_ ®..M. 3
,.m __ . G§to>ovi . . . n _H JHE 9
Mi . &m>__¢n.n§§mmm .. … doesn um§emom “qu“ MMHW.H" _ .. .. .m T. N m n_ _H m E N. _._H D _…_ m “h.m_ m..m E< .N W.
. ...\ . . _ . . . w §§ co meet ._QQE:z e_o. UJ
DM EHMNMHWMMMMMNHMMM .am>__.@.n Bn_.ewwm .Nm...>=mn_. co ea__ow w ames dusen d ». W
a m>__mn_ co 530
m ioriww§_mmu ssa emewes“.w§@%wm mm o :§ gmc comm §§ 38 m
9 Bm>=mo ,. , c .
m stream __as_ demeanor U cease eso_e.wwm 323 c__a< m m
1 E__§ gender _u sewage §§ n w
w enade _ns_ beard _u . f mccc. morrow .m 1 l - -. w
D s § 251
S . _ ¢lll. _
a _ $Fw< H®mw© _ _ W
.m c c m
M .i §§ m$ee `zo»m:o: m H
n d 3m E_:..... n ><BVE<._ zcem:oz _>_<m .z 3a _ H
w m ~_HE…_E >:eo_>__e d wm
m . tv
e oz _U ">>c_on mmocucm _cm>=o_o amoco mm> x / . . T.
m mw> E 2 Eoe Eoe economic avenue dozen 2 d a aba emmwwaeM N_MMM v W
. . . c com m _ c 6
m . . eugene QEM…M_WB 85 ordered M§ eear< n T_q
m dozen 96 open do `eEmz enacted >n endeavor m h .:o> 2 came orr 539 eeo eis ~e£ em opm
m omnm.&ew< _M mE_mn_ cocm>_mw X omcm>oc m£ co nominee cce cEmc §QME§ l raw
Em-<_u_ . _._m. _. mEo_o.o EoO I
m ornameme .< m b m _. ~. w _ 0

 

>mm\_:w_.o 20 zoco.mm wire mew._e.§oc acime §§ .mem_._a§oo "mmnzmw.

Case 4:17-cV-03012 Document 1-2 Filed in TXSD on 10/09/17 Page 5 of 8

 

 

 

__:~__~_____:=_.___~:2:__________=__:T__.__:~=w._.$:=: . W
2 HJ.

ah 0 mm

.Mw..n .w. .~ m

JW.:.m~n._vn ........ 7 s 0

.LY Mn.. l m

§§ w.§§ zome w , _ m

§§ wom,u_@.mm W 00 w

§§E HYWS , . m

m§§ Ezooo m§.,n.. . 0/_ w

vomon HOEEQ qm§€m m§mo. W_ w
335 Ewon_ w

exon 25 5 @v+n=N uaw _wwo€um .oEmc .Bo> §§ mmmm_a "._mucmm . mo~m~.w..um::: _,.lv,

 

n=u _H__;w mmmdn._.. nwng murr mrmr

 

 

zJO z @SPJT -

__m_>_ wwm_O.~Q_n_

w»....¢». Nf » ull\

n wzro<E mnw:

 

 

oTO .oz scch
mn_m.j
emmanme w omm~won_

 

Case 4:17-cV-03012 Document 1-2 Filed in TXSD on 10/09/17 Page 6 of 8

 

»' g
°'\¢'¢..¢o‘°

I, Chris Daniel, District Clerk of Harris
County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date.

Witness my official hand and seal of office

this ctober9 201

Certit`ied Document Number: 168414§9 Total Pages: 2

@»<;WM

Chris Daniel, DISTRICT CLERK
HARRIS COUNTY, TEXAS

In accordance with Texas Government Code 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com

 

CaSe 4:17-cV-03012 Document 1-2 Filed in TXSD on 10/09/17 Page _7 of 8

er:76612910- Page l ofl

Bocument Numb

ECORDER’S MEMORANDUM
__is lnslrumenl rs of poor quality
at the time of lmaglng

Ccrtifi§

U.S. Posta| Service""

   

CEFiT|F|ED NIAIL® RECE|PT

 

  
  
  
 
 

 
    
  
 

 

 

   

 

 
 
 

 

 

 
  

 

r Domes!r'c M‘ail On!y

|'U

g For delivery r'nlolm \lion_ visit our Wehs.ilr.~ il n m'.'. u:, ,;1_¢_ com"

,q 9F“ F F l C l A
il m .I l'
.E s

m she """.q“ mmm .`. ...',, »
; Elnmnwowdmm l - ' 1
‘ § gunman-mcdonald s '
m Uo¢wmmmwom¢y a :
L-_l Dmsvm¢M-\e 8 ‘
|:|Mnmgmnnmwdu¢am s

EJ PUS!HOB

r~ , LS'ib

m E'.". ~. .. . '

"1 79 q" rlMorHv MERCER

g Sanr'l'b 411 N. SAM HOU$TON PARKWAY E, SU|TE 350

E MWMH HOUSTON, TEXAS 77060

amaz'aaia:zm: QUI'] - 5&5 /5 51 l
PS l~`m:n 3800.

 

 

Case 4:17-cV-03012 Document 1-2 Filed in TXSD on 10/09/17 Page 8 of 8

 

I, Chris Daniel, District Clerk of Harris
County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date.

Witness my official hand and seal of office

this Qctober 9, 2017

Certifled DocumentNumber: 76612 10 Total Pa es: l

%WM

Chris Daniel, DISTRICT CLERK
HARRIS COUNTY, TEXAS

In accordance with Texas Government Code 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com

